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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
__________________________________________
                                              )
GREATER BOSTON PLUMBING                       )
CONTRACTORS ASSOCIATION,                      )
                                              )
                      Plaintiff,              )
                                              )
v.                                            )    Civil Act. No. 1:20-cv-12283
                                              )
WILLIAM ALPINE, in His Official Capacity as   )
Director of the Massachusetts Department      )
of Family and Medical Leave,                  )
                                              )
                      Defendant.              )
__________________________________________)



                  DEFENDANT’S MEMORANDUM IN SUPPORT OF
                      MOTION TO DISMISS FOR LACK OF
                  ARTICLE III SUBJECT-MATTER JURISDICTION


                                       By his attorneys,

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Dated: June 29, 2022
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       The Massachusetts Paid Family and Medical Leave Act (“PFMLA”), Mass. G.L.

c. 175M, was one of several major pieces of 2018 economic legislation enacted as part of a

“grand bargain” supported by both business and worker advocates. Consistent with its title, the

PFMLA provides most Massachusetts workers with the right to take paid leave for several

important family and medical reasons. In the present lawsuit, the Greater Boston Plumbing

Contractors Association (“PCA”), on behalf of a group of plumbing contractors, seeks to void a

key part of the PFMLA: Section 2(f), which requires employers to maintain their workers’

health-insurance benefits during PFMLA leave. Mass. G.L. c. 175M, § 2(f). This provision

ensures that a worker will not have to choose between, for example, caring for a seriously ill

family member and keeping health insurance. PCA nevertheless seeks to have Section 2(f)

stricken as preempted by the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C.

§§ 1001-1461, and the Labor Management Relations Act (“LMRA”), 29 U.S.C. §§ 141-87.

       For two reasons, this attempt to void a key portion of a state’s duly enacted worker-

protection law founders on the bedrock rule that federal courts can resolve only those “Cases

[and] Controversies” encompassed by Article III of the Constitution. U.S. Const. art. III, § 2.

First, PCA has yet to establish that any of its member contractors have even been affected by

Section 2(f), since they participate in a plan that is already designed to provide health insurance

during periods of leave or unemployment, and there is no proof that any of their employees have

lost insurance because of PFMLA leave, or that such a loss is imminent. This both renders any

preemption issue unripe for Article III purposes and precludes any assertion of Article III

standing. Second, PCA specifically asked the State Legislature to amend Section 2(f) to provide

it with state-law authority to undertake an action that it said would avoid any potential issues

with ERISA and the LMRA. But once the Legislature amended Section 2(f) in the exact manner
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PCA had requested, PCA then failed to take the now-authorized action that it had said would

allow it to resolve those issues, instead deciding to continue with the present litigation. As

recognized by two Circuits, this voluntary choice constitutes “self-inflicted harm” that provides a

further reason why PCA lacks Article III standing. Given the absence of either standing or

ripeness, the Court should dismiss PCA’s suit for lack of subject-matter jurisdiction.

I.     RELEVANT STATUTORY AND FACTUAL BACKGROUND

       A.      PCA and Its Multi-Employer Health Benefits Plan

       PCA is a trade association that “represents the interests of approximately sixty unionized

plumbing contractors . . . in the Greater Boston area” and that has entered into a collective

bargaining agreement on their behalf (“CBA”) with the Plumbers and Gasfitters Local Union No.

12 (“Local 12”). Second Amended Complaint (“Compl.”) (Dckt. # 8) p. 1, ¶ 1. PCA and Local

12 have cooperated in the establishment of the Local 12 Health and Welfare Plan (“Plan”), a

multi-employer ERISA employee welfare benefit plan that provides health insurance to the

employees of PCA’s member contractors (“Contractors”). Id. p. 2, ¶¶ 17-18. The Plan does so

by maintaining a fund that pays the premiums for the employees’ health insurance and that is

itself funded by payments from the Contractors under the terms of the CBA. Id. ¶¶ 19-21.

       B.      The Massachusetts Paid Family and Medical Leave Act

       The PFMLA requires most Massachusetts employers to allow their workers to take paid

leave for certain purposes, such as managing a serious illness or bonding with a recently born

child. Mass. G.L. c. 175M, § 2. It differs from the federal Family Medical Leave Act

(“FMLA”), 29 U.S.C. §§ 2601-54, in several respects, including both the extent of coverage and,

most notably, a mandate that the leave be in part paid. Mass. G.L. c. 175M, § 3. That partial

income replacement is accomplished not by direct employer-employee payments, but instead by




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a fund administered by the Massachusetts Department of Family and Medical Leave

(“Department”) that receives contributions from both employers and employees and then makes

payments to eligible employees. Id. §§ 3-8. During a given year, workers can take up to 20

weeks of “medical leave” for certain specified purposes, and generally up to 12 weeks of “family

leave” for certain others, but in no event more than 26 weeks for all such leave combined. Id.

§§ 2(a)-(c). The defendant Director oversees the Department. Id. § 8.

       The present case concerns not the PFMLA’s income-replacement provisions but instead

another important requirement, codified in Section 2(f), that ensures that an employee need not

fear losing health insurance because of taking PFMLA leave. As originally enacted in 2018, the

pertinent language in Section 2(f) read:

       During the duration of an employee’s family or medical leave, the employer shall provide
       for and contribute to the employee’s employment-related health insurance benefits, if
       any, at the level and under the conditions coverage would have been provided if the
       employee had continued working continuously for the duration of such leave.

Mass. G.L. c. 175M, § 2(f) (as enacted by Mass. St. 2018, c. 121, § 29) (emphasis added).

       C.      PCA’s Efforts to Have PFMLA Section 2(f) Amended

       Because the just-quoted sentence in the original Section 2(f) is phrased in the

conjunctive, it could reasonably be construed as requiring the employer of a worker on PFMLA

leave to continue making the same cash contributions toward health insurance that it would have

made had the employee continued working. PCA and others claimed that that created an issue

for employers like the Contractors that provide health benefits via multi-employer plans, which

are governed not only by ERISA but also by the LMRA. See PCA Answers to Interrogatories

(“Int. Ans.”) (attached as Exhibit 1 to Declaration of Douglas Martland (“Martland Decl.”)) No.

11; Declaration of Michael Morris (a PCA lobbyist) (“Morris Decl.”) ¶ 4. The specific issue was

that (1) LMRA Sections 186(a) and (c)(5) prohibit employer payments to a multi-employer plan



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without a written basis for the payment in a collective bargaining or similar agreement, (2) many

such agreements (including PCA’s) provide for employer contributions only for hours actually

worked by an employee, Compl. ¶¶ 23-26, and (3) the sentence in the original Section 2(f)

quoted above, in contrast, required contributions when a worker was on leave and therefore not

working. See Int. Ans. No. 11; Martland Decl. Exh. 2, Attachment 1 (May 13, 2019 letter from

PCA and others to Chairs of relevant Massachusetts Legislature Joint Committee); Morris Decl.

¶ 4; Deposition of PCA’s then-Executive Director Jeremy Ryan (“Ryan Dep.”) 99, 128-30, 140.

PCA and other employer groups also claimed that that original sentence in Section 2(f) created

an ERISA issue as well. Martland Decl. Exh. 2, Attachment 1; Morris Decl. ¶ 4.

       This question of potential LMRA/ERISA conflicts prompted talks between employers

with multi-employer plans and labor groups for a proposed statutory “fix.” See Int. Ans. No. 3;

Morris Decl. ¶ 2. These negotiations resulted in a jointly proposed statutory amendment, later

enacted, that the conjunctive “shall provide for and contribute to” be changed to the disjunctive

“provide for, contribute to or otherwise maintain.” Morris Decl. ¶ 4. That would have the

sentence read as it does now, with no required employer-to-plan contributions:

       During the duration of an employee’s family or medical leave, the employer shall provide
       for, contribute to or otherwise maintain the employee’s employment-related health
       insurance benefits, if any, at the level and under the conditions coverage would have been
       provided if the employee had continued working continuously for the duration of such
       leave.

Mass. G.L. c. 175M, § 2(f) (as amended by Mass. St. 2020, c. 358, § 82). As for what would

replace the cash contributions, “it was the [ ]PCA’s understanding that the legislative amendment

would allow management and labor an opportunity to amend the terms of their . . . collectively

bargained health . . . plans so that they would be consistent with the” PFMLA. Int. Ans. No. 3.

The requested statutory amendment was thus part of “a two-step compromise,” id., whereby




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(1) the new PFMLA language would allow employers to comply by collective bargaining

agreement/plan amendments rather than by cash contributions, see id. No. 11, and (2) upon the

statutory amendment taking effect, management and labor would then amend their plans and

bargaining agreements consistent with the revised law. Id.; Morris Decl. ¶ 5; Ryan Dep. 26-27.

       Once the labor and management groups arrived at this compromise, they jointly sent two

letters, which PCA’s Executive Director signed, explaining the compromise and urging, as the

“first step,” enactment of the proposed statutory amendment: one letter to members of the

Massachusetts Senate and House of Representatives on August 11, 2020, and a second one to the

Governor on January 12, 2021, when Section 2(f)’s amendment was before him for signature.

Morris Decl. ¶ 6, Exhs. A-B; see Ryan Dep 24. The key language in both letters is identical:

       The solution is this: by adding the words “or otherwise maintain,” to Section 2(f) of the
       PFMLA, the law will allow our multiemployer health plans, which are funded by
       contributions for each hour worked . . . , to maintain health insurance benefits if an
       employee goes out on leave.

       The unions and the contractor associations are in agreement – they will amend their
       health plans’ Summary Plan Descriptions, their collective bargaining agreements and
       their trust documents to guarantee that all union members’ health insurance benefits are
       maintained while the member is on leave. This 3-word fix to the state statute will allow
       union members to enjoy the benefits the PFML provides and will obviate the union
       employer’s “Sophie’s Choice” of whether to violate federal law or state law . . . .

Morris Decl. Exh. A p. 3, Exh. B p. 2 (emphasis added). PCA’s Executive Director and the other

employer signatories thus told the Legislature and the Governor that they had agreed with their

unions to take a step that would resolve the identified problems with the LMRA and ERISA, and

that all they needed was state-law authorization to allow that step to occur. See id.; Morris Decl.




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¶¶ 5-6; Ryan Dep. 24; see also Int. Ans. No. 11 (“The legislative amendment made it possible for

unionized employers to comply with state law . . . without violating the LMRA”). 1

       That state-law authorization became reality when the Governor signed the Section 2(f)

amendment into law on January 14, 2021. See Mass. St. 2020, c. 358, § 82. But no Plan or CBA

amendments then followed, contrary to PCA’s prior statements to the Legislature and the

Governor. See Int. Ans. Nos. 14-15. PCA instead continued with the present lawsuit, which it

had filed before Section 2(f)’s amendment, and it indeed amended its complaint to contest the

statutory language that it had just proposed. See Dckt. Nos. 1, 8. PCA provides extended and

convoluted interrogatory responses as to why it failed to complete the specific step that it had

requested legislative authorization to take. Int. Ans. Nos. 5, 16-17. The essence of its

interrogatory responses is that its Contractors were unwilling to spend any new money to help

finance CBA and Plan amendments (even though it had included no such caveat in either of its

letters advocating for Section 2(f)’s passage). See id.; see also Ryan Dep. 32-34, 50-53, 58. 2

       D.      The Impact (or Not) of Amended Section 2(f) on PCA’s Contractors

       Now that Section 2(f)’s amendment has removed the requirement that PCA’s Contractors

make cash contributions to the Plan to cover insurance during PFMLA leave, it is unclear how

Section 2(f) adversely affects PCA at all, for two main reasons. First, some of its Contractors are

independently required to maintain the health benefits of their on-leave employees by the FMLA.



1
        PCA joined in the 2021 letter despite a prior meeting with Local 12 that most decidedly
did not end in an agreement. See Ryan Dep. 58, 61-63. PCA’s then-Executive Director now
says both that PCA joined in part because an agreement “was still possible to happen,” id. 143,
but also that by “mistake” he did “not catch where it says ‘we are in agreement.’” Id. 106.
2
       Apparently influencing the Contractors was an informal PCA-Local 12 cost estimate that
was described by PCA’s then-Executive Director as “back of the napkin,” Ryan Dep. 34-35, 61-
63, 69-71, 74-76, and that may have been based on a key false assumption. See id. 69-71.



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This is because the FMLA regime has its own benefits-maintenance requirement, 29 C.F.R.

§ 825.209(a), and its leave runs concurrently with PFMLA leave for employees who are eligible

for both, id. § 825.701(a); see Mass. G.L. c. 175M, § 2(l). Section 2(f) therefore has no effect on

a Contractor whose worker on PFMLA leave also qualifies for FMLA leave, since the FMLA’s

own maintenance provision independently applies and accomplishes the exact same result. See

also Ryan Dep. 47-49 (some Contractors exceed FMLA’s 50-employee threshold); Deposition of

PCA Executive Director Andrew DeAngelo (“DeAngelo Dep.”) 12 (same).

       Second, while the FMLA does not reach employers with fewer than 50 employees, 29

U.S.C. § 2611(4)(A)(i), and while it and the PFMLA have some variations in coverage for those

with 50 or more workers, PCA has yet to establish that in any instance where the FMLA has not

concurrently applied, a PCA Contractor has had an employee actually lose health-insurance

coverage as a result of taking PFMLA leave. See, e.g., PCA Responses to Defendant’s First

Requests for Admissions (“RFA Resp.”) (Martland Decl. Exh. 2) No. 2. 3 Indeed, neither PCA’s

current Executive Director, its former Executive Director, nor the Administrator of the Plan’s

Fund is aware of such an employee losing coverage because of the PFMLA. DeAngelo Dep. 23,

28, 33; Ryan Dep. 67, Declaration of Roger Gill (“Gill Decl.”) ¶ 6. The lack of such proof is

unsurprising, since the Plan recognizes the intermittent nature of plumbing work and, as

explained by PCA itself, arranges for benefits coverage during slack periods:

       The Plan provides an arrangement whereby employees may maintain their health
       insurance coverage when they are not working. The Plan provides health insurance
       coverage to an eligible employee for a six-month period, provided that the employee

3
        PCA is explicit that “as of the date of this response, . . . [ ]PCA admits that it has not
identified an employee of [ ]PCA’s Signatory Contractors who has taken PFMLA [sic] and had
his or her employment related health insurance benefits terminated while out on that leave.” Id.
PCA prefaces that admission with an “object[ion] on the ground that it has no way of actively
tracking PFML leave taken by the employees of each of its approximately sixty Signatory
Contractors,” id., thereby implicitly underscoring its current lack of actual proof.



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       worked the requisite number of hours . . . during the preceding six-month period.
       Specifically, the Plan provides that an employee will be eligible for health insurance
       coverage through each six-month coverage period, if the employee’s credited hours for
       the preceding six-month eligibility period (period when actual hours were worked) total
       600 or more. Under the Plan, if an employee works more than 600 hours during an
       eligibility period, the employee may bank the surplus hours in an Hours Bank and use the
       banked hours during future eligibility periods as necessary to maintain eligibility for
       health insurance coverage, such as when the employee is . . . on a leave of absence.

Int. Ans. No. 12; accord Gill Decl. ¶¶ 7-8. Under this benefits eligibility structure, an employee

taking PFMLA leave would retain health coverage throughout the six-month Plan “coverage

period” that he or she was then in, as long as he or she had worked 600 hours during the

immediately preceding “eligibility period.” Gill Decl. ¶ 7. And while that on-leave employee

would not be continuing to work for purposes of accruing 600 hours for his or her next six-month

Plan “coverage period,” the employee would be able to tap into all accumulated surplus hours in

his or her “hours bank” to provide a backup source of coverage for that next coverage period. Id.

¶ 8. Only an employee who had not accumulated sufficient hours in the hours bank might be at

risk of losing benefits during the next coverage period. PCA states that that “could” happen, id.,

but it again has yet to provide any evidence that it ever actually has, and in late 2020 even its

own Executive Director thought of the likelihood as “very rare.” Ryan Dep. 113-17, Exh. 10.

       PCA instead stresses that an on-leave employee will in fact often use his or her hours

bank to maintain coverage during the next coverage period, and it argues that that “draw down”

of the hours bank is itself a Section 2(f) violation. See, e.g., Joint Status Report and Scheduling

Proposal (Dckt. No. 37) pp. 3-4; RFA Resp. Nos. 2, 7, 15. But the Director, who administers the

PFMLA as head of the Department, see Mass. G.L. c. 175M, § 8, holds the opposite

interpretation of Section 2(f), see Declaration of Undersecretary of Labor and Workforce

Development Michael Doheny (“Doheny Decl.”) ¶ 4, and his interpretation of a state law that he

implements is entitled to deference. See, e.g., Pharm. Research v. Concannon, 249 F.3d 66, 75



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(1st Cir. 2001), aff’d, 538 U.S. 644 (2003). The Department has indeed recently published a

proposed update to its PFMLA regulation that would codify the Director’s interpretation of

Section 2(f) (which is also the Department’s longstanding one) as permitting the use of banked

hours. Declaration of William Alpine (“Alpine Decl.”) ¶¶ 8-9, Exh. A (proposed 458 Code

Mass. Reg. § 2.16(1)(c)); see also id. Exh. B; Doheny Decl. ¶ 4. 4 That proposed regulation is

now proceeding through the Commonwealth’s regulatory approval process. Alpine Decl. ¶ 9.

       E.      PCA’s Present Lawsuit and Its Preemption Claims

       While PCA filed this suit before Section 2(f)’s amendment, see Dckt. No. 1 (challenging

original statute), it later filed amended pleadings to challenge its own requested language change,

id. Nos. 4, 8. To invalidate the amended law, PCA’s currently operative pleading makes five

preemption claims: three under ERISA, Compl. ¶¶ 45-57; one based on an asserted continued

conflict with Section 186 of the LMRA, id. ¶¶ 59-68; 5 and one under the LMRA’s so-called

“Machinists” preemption doctrine, id. ¶¶ 69-72. For the following reasons, the Court lacks

subject-matter jurisdiction over all of them.

II.    ISSUES OF ARTICLE III SUBJECT-MATTER JURISDICTION ARE
       APPROPRIATELY RAISED BY A POST-ANSWER MOTION TO DISMISS
       SUPPORTED BY DECLARATIONS.

       “The objection that a federal court lacks subject-matter jurisdiction, see Fed. Rule Civ.

Proc. 12(b)(1), may be raised by a party . . . at any stage in the litigation.” Arbaugh v. Y&H

Corp., 546 U.S. 500, 506 (2006); see also Fed. R. Civ. P. 12(h)(3) (“If the court determines at



4
       “Hours banks” were in fact a way that employers had said they intended to “otherwise
maintain” benefits once Section 2(f) was amended. Doheny Decl. ¶ 3; see Ryan Dep. 83.
5
       The continued LMRA Section 186 claim is a curious one, since PFMLA Section 2(f)’s
change to a disjunctive phrasing removed the employer-contribution requirement that had been
the source of the prior LMRA Section 186 issue. See Section I.C above.



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any time that it lacks subject-matter jurisdiction, the court must dismiss the action”). As a result,

even though a motion to dismiss generally must be filed before the answer, Fed. R. Civ. P. 12(b)

¶ 2, one for lack of subject-matter jurisdiction may be filed at any time under Rule 12, via at least

two different means. Some courts allow such a post-answer motion to dismiss under Rule

12(b)(1), 6 while others entertain the motion directly under Rule 12(h)(3). 7 The First Circuit

itself has affirmed the allowance of a subject-matter-jurisdiction motion to dismiss that was

made late in the case and that invoked both Rules. Templeton Bd. of Sewer v. Amer. Tissue

Mills, 352 F.3d 33, 36 (1st Cir. 2003) (motion to dismiss filed after denial of summary-judgment

motion). 8 The present Motion accordingly relies on both Rule 12(b)(1) and Rule 12(h)(3).


6
        See, e.g., Jackson v. U.S., 110 F.3d 1484, 1486 (9th Cir. 1997) (“A motion to dismiss
pursuant to the Feres doctrine, even if raised after the answer to the complaint, should be treated
as a motion to dismiss for lack of subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1) rather
than as a motion for summary judgment”); Spade v. U.S., 531 F.Supp.3d 901, 903 (M.D. Pa.
2021) (“An evaluation under 12(b)(1) ‘may occur at any stage of the proceedings’”) (quoting
Mortensen v. First Fed. Savings & Loan Ass’n, 549 F.2d 884, 891 (3rd Cir. 1977)).
7
        See, e.g., Berkshire Fashions, Inc. v. M.V. Hakusan II, 954 F.2d 874, 879 n.3 (3rd Cir.
1992) (“The distinction between a Rule 12(h)(3) motion and a Rule 12(b)(1) motion is simply
that the former may be asserted at any time”); Finnegan v. Long Island Pwr. Auth., 409
F.Supp.3d 91, 95 (E.D.N.Y. 2019); Jo v. JPMC Specialty Mortgage, LLC, 248 F.Supp.3d 417,
421-22 (W.D.N.Y. 2017). See generally Glancy v. Taubman Ctrs., Inc., 373 F.3d 656, 662 (6th
Cir. 2004) (“Rule 12(h) permits a defense based on lack of subject matter jurisdiction to be
raised in a motion other than a Rule 12(b)(1) motion”). The Ninth Circuit at times uses the
phrasing of a Rule 12(h)(3) post-answer “suggestion,” rather than “motion,” but the result is the
same. See, e.g., Elvig v. Calvin Presbyterian Church, 375 F.3d 951, 955 n.2 (9th Cir. 2004).
8
        Accord Marco S. Marinello Assoc., Inc. v. C.L.R., 525 F.2d 147, 151 (1st Cir. 1976)
(“Rule 12(h)(3) motion to dismiss” challenging diversity jurisdiction permissible even after
defendant previously had “admit[ted] diversity jurisdiction in its answer”); Anvar v. Tanner, 549
F.Supp.3d 235, 239 (D.R.I. 2021) (post-answer and fact-based Rule 12(b)(1) motion challenging
plaintiff’s standing “consider[ed] . . . under Rule 12(h)(3)”). Although “[g]enerally, ‘[t]he proper
vehicle for challenging a court’s subject-matter jurisdiction is . . . Rule . . . 12(b)(1),’” Anvar,
549 F.Supp.3d at 239 (quoting Valentin v. Hosp. Bella Vista, 254 F.3d 358, 362 (1st Cir. 2001)),
a post-answer Rule 12(h)(3) motion is fully permissible in the First Circuit, as the just-cited
authorities make clear. See also Audette v. Carrillo, 2017 WL 1025688, at *2 (D. Mass. 2017)
(after partial denial of Rule 12(b)(6) motion to dismiss, second motion to dismiss challenging
subject-matter jurisdiction considered under Rules 12(b)(1) and 12(h)(3)).


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       Whichever vehicle is used, “the difference between a Rule 12(b)(1) motion and a Rule

12(h)(3) motion is largely academic, and the same standards are applicable to both types of

motions.” Finnegan v. Long Island Pwr. Auth., 409 F.Supp.3d 91, 95 (E.D.N.Y. 2019); accord

Cruz v. AAA Carting and Rubbish Removal, Inc., 116 F.Supp.3d 232, 239 (S.D.N.Y. 2015).

Those standards are that “the court enjoys broad authority to . . . consider extrinsic evidence,”

Valentin v. Hosp. Bella Vista, 254 F.3d 358, 363 (1st Cir. 2001); accord Anvar v. Tanner, 549

F.Supp.3d 235, 239 (D.R.I. 2021), that “the plaintiff’s jurisdictional averments are entitled to no

presumptive weight,” Valentin, 254 F.3d at 363, and that instead “[t]he plaintiff bears the burden

of proving subject matter jurisdiction by a preponderance of the evidence,” Aurecchione v.

Schoolman Transp. Sys., Inc., 426 F.3d 635, 638 (2nd Cir. 2005); accord Valentin, 254 F.3d at

366. The First Circuit is also clear that “a district court cannot convert a factual challenge under

Rule 12(b)(1) into a summary judgment motion.” Valentin, 254 F.3d at 364. 9

III.   PERTINENT ARTICLE III STANDING AND RIPENESS STANDARDS

       An association such as PCA “has standing to bring suit on behalf of its members when its

members would otherwise have standing to sue in their own right, the interests at stake are

germane to the organization’s purpose, and neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.” Friends of the Earth, Inc. v.



9
          Such a fact-based jurisdictional motion instead should be resolved directly, id. at 365,
although an evidentiary hearing is not necessarily required, id. at 364. Different standards apply
where, unlike here, a defendant simply challenges the facial sufficiency of a complaint’s
jurisdictional assertions. Id. at 363. The First Circuit has also stated that a court “may defer
resolution of jurisdictional issue until the time of trial” in the event that “the jurisdictional facts
 . . . are inextricably intertwined with the merits of the case.” Id. at 363 n.3; but see Perez-
Kudzma v. U.S., 940 F.3d 142, 144 (1st Cir. 2019) (“we are obliged to assure ourselves of our
jurisdiction under the federal constitution before we may proceed to the merits”) (citing Steel Co.
v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998)). This case lacks any such “inextricabl[e]
intertwine[ment]” – the Court need not delve into the intricacies of ERISA preemption, for
example, to determine that PCA’s asserted harm is self-inflicted. See Section V below.


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Laidlaw Envt’l Svc., Inc., 528 U.S. 167, 181 (2000). PCA has pled that it meets all three

elements, Compl. ¶¶ 1-2, 8, and the Director is not, as of now, contesting the second or third

ones. The Director does vigorously dispute whether PCA’s “members would otherwise have

standing to sue in their own right.” Laidlaw, 528 U.S. at 181. Because PCA is attempting to sue

in a solely representative capacity, and for the sake of efficiency, all references to PCA in

Sections IV and V below should be read to encompass its member Contractors as well.

       “Article III of the Constitution limits the jurisdiction of federal courts to ‘Cases’ and

‘Controversies,’” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157 (2014) (“SBA List”)

(quoting U.S. Const., Art. III, § 2), and “[t]he doctrines of standing and ripeness ‘originate’ from

th[at] same Article III limitation.” Id. at 157 n.5 (quoting DaimlerChrysler Corp. v. Cuno, 547

U.S. 332, 335 (2006)). “To establish Article III standing, an injury must be ‘concrete,

particularized, and actual or imminent; fairly traceable to the challenged action; and redressable

by a favorable ruling.’” Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013) (quoting

Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149 (2010)). The “concrete,

particularized, and actual or imminent” part of this tripartite constitutional standing test

constitutes its “injury-in-fact requirement,” N.H. Lottery Comm’n v. Rosen, 986 F.3d 38, 50 (1st

Cir. 2021), while the “fairly traceable to the challenged action” portion is its “traceability

requirement,” Calif. v. Tex., 141 S.Ct. 2104, 2114 (2021). The present case implicates both. 10

       As for the “injury in fact” requirement, two principles have developed under it that apply

directly here. First, and as elaborated on in Section V below, “self-inflicted injuries are not even



10
       The Article III standard’s third requirement of “redressability” is not at issue here. While
the Supreme Court traditionally recognized certain additional non-constitutional or “prudential”
standing requirements, it has “moved away from considering prudential standing separate[ly],”
Aguasvivas v. Pompeo, 984 F.3d 1047, 1053 (1st Cir. 2021), and the Director bases the present
Motion’s standing arguments solely on Article III.


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injuries in fact.” Buchholz v. Meyer Njus Tanick, P.A., 946 F.3d 855, 866 (6th Cir. 2020); accord

Nat’l Fam. Planning v. Gonzalez, 468 F.3d 826, 831 (D.C. Cir. 2006). They also “fail[ ] the

second standing prerequisite, traceability,” since “[a] self-inflicted injury, by definition, is not

traceable to anyone but the plaintiff.” Buchholz, 946 F.3d at 866; accord Clapper, 568 U.S. at

416; Gonzalez, 468 F.3d at 831. The other “injury in fact” principle relevant here concerns its

“actual or imminent” element. The Supreme Court has elaborated on that element’s contours:

        “Although imminence is concededly a somewhat elastic concept, it cannot be stretched
        beyond its purpose, which is to ensure that the alleged injury is not too speculative
        for Article III purposes—that the injury is certainly impending.” . . . Thus, we have
        repeatedly reiterated that “threatened injury must be certainly impending to constitute
        injury in fact,” and that “[a]llegations of possible future injury” are not
        sufficient. Whitmore[ v. Arkansas], 495 U.S.[ 149,] 158 [(1990)].

Clapper, 568 U.S. at 409 (emphasis in original); see also id. at 410 (rejecting an “objectively

reasonable likelihood” standard). The Court has therefore made clear that a “theory of standing

[that] relies on a highly attenuated chain of possibilities . . . does not satisfy the requirement that

threatened injury must be certainly impending.” Id. at 410. While the First Circuit views the

Supreme Court as recently adjusting the articulated formulation of the “imminence” requirement

to permit standing where future harm is “certainly impending” or there is a “substantial risk that

the harm will occur,” Rosen, 986 F.3d at 50 (quoting SBA List, 573 U.S. at 158), neither court

has indicated that the standard’s strictness has diminished in actual application. 11 And it remains

very much the case that “[t]he party invoking federal jurisdiction bears the burden of

establishing’ standing,” SBA List, 573 U.S. at 158 (quoting Clapper, 568 U.S. at 411-12), with



11
        See Reddy v. Foster, 845 F.3d 493, 501-02 (1st Cir. 2017) (“substantial risk” not shown
where there was a “contingent future event that[ ] may not occur as anticipated, or indeed may
not occur as all”); see also Whole Women’s Health v. Jackson, 141 S. Ct. 2494, 2495 (2021)
(straight “certainly impending” formulation used in denying interlocutory injunctive relief);
Buchholz, 946 F.3d at 865 (“it is not enough that the future injury is reasonably likely to occur”).



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“[e]ach element . . . supported in the same way as any other matter on which the plaintiff bears

the burden of proof.” Id. (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992)).

       Similarly, “[t]he burden to prove ripeness is [also] on the party seeking jurisdiction.”

Labor Relations Div. v. Healey, 844 F.3d 318, 326 (1st Cir. 2016). That separate Article III

requirement has its own traditional formulation, which the First Circuit has summarized:

       In determining whether an issue is ripe for our review, we consider “(1) the fitness of the
       issues for judicial decision and (2) the hardship to the parties of withholding court
       consideration.” The fitness prong of this inquiry implicates both constitutional and
       prudential justiciability concerns. Article III principles require us first to ask “whether the
       claim involves uncertain and contingent events that may not occur as anticipated or may
       not occur at all,” thus rendering any opinion we might offer advisory. The prudential
       component of the fitness test asks whether resolution of the case turns on “legal issues
       not likely to be significantly affected by further factual development.” On the other hand,
       the hardship prong of this inquiry is purely prudential and requires that we evaluate
       “whether the challenged action creates a ‘direct and immediate’ dilemma for the parties.”

Algonquin Gas Transmission, LLC v. Weymouth, 919 F.3d 54, 62 (1st Cir. 2019) (citations

omitted). This Motion is based on the constitutional portion of the fitness prong. 12 That Article

III inquiry into “whether the claim involves uncertain and contingent events that may not occur

as anticipated or may not occur at all,” id., aims to prevent “hypothetical rulings about

hypothetical facts.” Overdrive Inc. v. Open E-Book Forum, 986 F.3d 954, 958 (6th Cir. 2021). It

also overlaps with the “injury in fact” standing requirement’s “actual or imminent” element, see

Reddy v. Foster, 845 F.3d 493, 502 (1st Cir. 2017) (using “contingent future events” formulation

in standing inquiry), and the Director argues both together in Section IV below.




12
         Given recent decisional developments at the Supreme Court level, the First Circuit noted
last year that “it is unclear whether prudential ripeness concerns . . . may still be considered.”
Aguasvivas v. Pompeo, 984 F.3d 1047, 1053 (1st Cir. 2021) (citing SBA List, 573 U.S. at 167).



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IV.     PCA HAS FAILED TO SHOW EITHER THAT ANY OF ITS CONTRACTORS
        HAVE ACTUALLY VIOLATED SECTION 2(f) OR THAT SUCH A VIOLATION
        IS IMMINENT, WHICH BOTH PRECLUDES THE “INJURY IN FACT”
        NECESSARY FOR ARTICLE III STANDING AND RENDERS THE ASSERTED
        PREEMPTION CLAIMS UNRIPE.

        As developed in Section I.D above, PCA has not been, and may never be, affected by

Section 2(f). That is a fatal to its case, since the First Circuit, cognizant of Article III, “ha[s]

emphasized that ‘a claim is not ripe for adjudication if it rests upon contingent future events that

may not occur as anticipated, or indeed may not occur at all.’” Healey, 844 F.3d at 326 (quoting

Fall River v. F.E.R.C., 507 F.3d 1, 6 (1st Cir. 2007)). The First Circuit is therefore quite reluctant

to wade into controversies where what is being challenged has yet to happen. Reddy, 845 F.3d at

502 (“No buffer zone currently exists, and none has ever existed in the years since the filing of

this lawsuit”); Healey, 844 F.3d at 327 (“employers acknowledge that they seek relief from . . .

[legal] actions [under the state law being challenged] that have not yet been brought”). And as

multiple Circuits have made clear, the possibility of an event occurring at some point in the

future will not fill the gap when it is conditioned on a contingency that itself may well not come

to pass. Overdrive, Inc., 986 F.3d at 958 (event “that may or may not happen” risks

“hypothetical ruling[ ] about hypothetical facts”); Reddy, 845 F.3d at 502 (plaintiffs’ “alleged

injuries are all conditioned on the demarcation of a [buffer] zone,” which “is a ‘contingent future

event’”); Fall River, 507 F.3d at 7 (suit against FERC not ripe where the “proposed LNG project

may well never go forward because FERC’s approval is expressly conditioned on approval by

the USCG and DOI,” and “[n]either has yet given its final recommendation”).

        These concerns are only heightened, and ripeness even harder to establish, when multiple

contingencies must all occur before a plaintiff’s feared outcome will become reality. Orix Credit

Alliance, Inc. v. Wolfe, 212 F.3d 891, 897 (5th Cir. 2000) (“several contingencies”); Ernst &




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Young v. Depositors Economic Protection Corp., 45 F.3d 530, 538 (1st Cir. 1995) (“long string

of contingencies” creating “lengthy chain of speculation”). In short, as the Sixth Circuit has

stressed, “[i]f and when do not a ripe controversy make.” Overdrive, 986 F.3d at 958 (emphasis

in original). In addition, and as set forth in Section III above, the existence of multiple uncertain

contingencies is equally fatal to the “imminence” element of the standing doctrine’s “injury in

fact” requirement. See, e.g., Clapper, 568 U.S. at 410; see generally Trump v. New York, 141 S.

Ct. 530, 536 (2020) (“the standing and ripeness inquiries both lead to the conclusion that judicial

resolution of this dispute is premature”); Reddy, 845 F.3d at 505 (same).

       Multiple uncertain contingencies are exactly what exist here. There are in fact at least

four conditions that must all occur before a PCA Contractor could establish that one of its

employees lost health insurance as a result of taking PFMLA leave. First, the employee must

actually take such leave, after having an application to do so approved by the Department as

meeting the law’s requirements. See Mass. G.L. c. 175M, §§5(a), 8(b). Second, that PFMLA

leave must not run concurrently with any applicable FMLA leave, which again has its own

benefits-maintenance requirement. 29 C.F.R. § 825.209(a). Third, the PFMLA leave must

prevent the employee from working the amount needed to maintain eligibility in the next

coverage period (here, 600 hours in one six-month period to qualify for insurance in the next six-

month period). See Int. Ans. No. 12; Gill Decl. ¶ 7. 13 Fourth, the employee also must have

exhausted all hours in his or her “hours bank” that could be drawn upon as a backup to maintain

insurance during that next “coverage period.” See Int. Ans. No. 12; Gill Decl. ¶ 8. The



13
       The next coverage period is focused on here because under the Plan, any insurance in the
current coverage period would continue through the end of that period. See id. And if under the
Plan the employee already lacked current-period insurance (i.e., even while working), there
would be no insurance for the employer to “otherwise maintain.” Mass. G.L. c. 175M, § 2(f).



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likelihood of the last two conditions occurring is in turn much reduced by the fact that PFMLA

family leave is capped at 12 weeks and medical leave at 20. Mass. G.L. c. 175M, § 2(c)(1). 14

These four contingencies are precisely the “lengthy chain of speculation” that precludes ripeness,

Ernst & Young, 45 F.3d at 538, just as they are the “highly attenuated chain of possibilities” that

defeats standing on “imminence” grounds, Clapper, 568 U.S. at 410.

       PCA asserts that there “could” be an employee who ends up losing health insurance after

meeting all four conditions, including depleting his or her hours bank. Int Ans. No. 12. But

PCA bears the burden of proof on both standing and ripeness, SBA List, 573 U.S. at 158

(standing); Healey, 844 F.3d at 326 (ripeness), and it must satisfy that burden “in the same way

as any other matter on which the plaintiff bears the burden of proof.” SBA List, 573 U.S. at 158.

That means actual evidence, and to date PCA has produced none, both in response to written

discovery, see Int. Ans. No. 12; RFA Resp. No. 2, and during the Fed. R. Civ. P. 30(b)(6)

deposition of its designee on this topic. See DeAngelo Dep. 17, 23, 28. 15 Instead, PCA has

offered only speculation about what “could” happen. Int. Ans. No. 12. This is the epitome of a

claim based on “uncertain and contingent events that may not occur as anticipated or may not

occur at all,” Algonquin Gas, 919 F.3d at 62, which support neither ripeness nor standing. 16 For

this reason alone, the Court should dismiss this suit on both of theses Article III grounds.



14
       It is only when the worker takes both family and medical leave in the same year that the
ultimate statutory cap of 26 weeks comes into play. Id. Unsurprisingly given these statutory
constraints, the average PFMLA leave period in FY 2021 was about 12 weeks. Alpine Decl. ¶ 9.
15
        PCA’s assertion in its RFA objections that “it has no way of actively tracking PFML
leave,” see, e.g., RFA Resp No. 2, is a curious one, since PCA’s members are notified each time
one of their employees applies for leave. Alpine Decl. ¶¶ 4-5.
.
16
         To the extent PCA tries to change the subject from the absence of anyone in fact losing
health insurance to the inevitability of some workers’ hours banks being drawn down, an
employer does not actually violate Section 2(f) by having an employee draw down an hours bank


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V.     PCA ADDITONALLY LACKS STANDING BECAUSE ANY SUPPOSED HARM
       IS ENTIRELY SELF-INFLICTED, WHICH FAILS TO SATISFY BOTH
       ARTICLE III’S “INJURY IN FACT” AND ITS “TRACEABILITY” STANDING
       REQUIREMENTS.

       An entirely separate barrier to Article III standing also exists. As set forth in Section I.C

above, PCA twice joined in letters, first to the Massachusetts Legislature and then to the

Commonwealth’s Governor, urging that Section 2(f) be changed to the very form that it

challenges now. Morris Decl. ¶ 6, Exhs. A-B. As PCA stated at the time, it did so because the

requested change would create state-law authority for amending the CBA and the Plan in a

manner that would remove asserted federal-law issues – amendments that, it said, it already had

an agreement with Local 12 to make. Id. But once Section 2(f) was changed as requested, PCA

never saw that the amendments went through, apparently because it did not want to incur any

additional expenses in connection with them. See Int. Ans. Nos. 5, 16-17. PCA thus failed to

take the specific step that it had said it would take to resolve its dilemma, if only the

Massachusetts Legislature would clear the way for that step as a matter of state law.

       This constitutes self-inflicted harm, which as discussed in Section III above precludes

standing, both because it is not “injury in fact,” Buchholz, 946 F.3d at 866, and because it cannot

be said to be “fairly traceable” to the defendant’s conduct, Gonzalez, 468 F.3d at 831.

Importantly, Circuit decisions make clear that self-inflicted harm encompasses not only a

plaintiff’s self-injurious affirmative action, but also a plaintiff’s failure to undertake an action

that would have removed the asserted harm. For example, in Gonzalez, the plaintiffs contended



to continue insurance coverage. See Section I.D above. That is the interpretation of the Director
– the state official administering the PFMLA – and that is what is set forth in a proposed
Department regulation reflecting that interpretation. Alpine Decl. ¶ 9, Exh. A (proposed 458
Code Mass. Reg. § 2.16(1)(c)); Doheny Decl. ¶ 9. It is common sense that PCA cannot be
injured by a state-law prohibition that does not in fact exist. See Clapper, 568 U.S. at 409 (to
satisfy “injury in fact” requirement, an injury must also be “concrete” and “particularized”).


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that a supposed conflict between the requirements of a federal statute and regulation left them in

a “Catch 22” dilemma over how to comply with both, even though there was an available means

of resolving that dilemma – seeking clarification and guidance from the relevant federal agency –

that they had failed to avail themselves of. 468 F.3d at 829. The D.C. Circuit rejected standing,

placing significant emphasis on the self-inflicted nature of the plaintiffs’ alleged injuries:

       The supposed dilemma is particularly chimerical here because the association’s asserted
       injury appears to be largely of its own making. We have consistently held that self-
       inflicted harm doesn’t satisfy the basic requirements for standing. Such harm does not
       amount to an “injury” cognizable under Article III. . . . Furthermore, even if self-inflicted
       harm qualified as an injury it would not be fairly traceable to the defendant’s challenged
       conduct. . . . Here the association has within its grasp an easy means for alleviating the
       alleged uncertainty. It could inquire of HHS exactly how the agency proposes to resolve
       any of the conflicts that it claims to spot between the [statutory] amendment and the
       regulations. . . . It has never done so. . . . As the association has chosen to remain in the
       lurch, it cannot demonstrate an injury sufficient to confer standing.

Id. at 831 (emphasis in original). The Sixth Circuit reached the same conclusion regarding

“traceability” in two recent decisions involving debtors who had failed to pay their debts and

then assertedly experienced anxiety when debt-collection law firms sent them letters. Garland v.

Orlans, PC, 999 F.2d 432, 440-41 (6th Cir. 2021); Buchholz, 946 F.3d at 866. As Garland makes

clear, both cases held that the debtors’ voluntary choices not to pay their debts made any injuries

self-inflicted and thereby precluded standing on “traceability” grounds:

       Garland’s anxiety allegation also fails standing’s traceability requirement. . . . Self-
       inflicted injuries fail under this prong because they are, “by definition, ... not traceable to
       anyone but the plaintiff.” Buchholz, 946 F.3d at 866.

       . . . In Buchholz, we held that Buchholz’s allegations were self-inflicted and thus not
       traceable to the law firm’s letter. Id. at 866-67. We explained that Buchholz did not
       dispute his debts or allege the letter contained inaccurate information. . . . And we
       concluded that “[t]he cause of that anxiety falls squarely on Buchholz because he chose
       not to pay his debts—and now fears the consequences of his delinquency. Id. So . . . the
       anxiety that Buchholz allege[d] is not traceable to anyone but him.” Id.

       ...




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        . . . Ultimately, Garland’s anxiety, like Buchholz’s, “is not traceable to anyone but
        him.” Id. And so he “cannot establish standing based on his allegations of anxiety.” Id.

Garland, 999 F.3d at 440-41. 17

        Purposeful inaction can thus be just as fatal to standing as voluntary action, and PCA’s

failure to take the specific step that it itself had identified as resolving its purported dilemma is

an additional reason why standing does not exist. Here, as in Gonzalez, PCA’s “asserted injury

appears to be largely of its own making,” and since it “has chosen to remain in the lurch, it

cannot demonstrate an injury sufficient to confer standing.” 468 F.3d at 831 (emphasis in

original). And here, as in Garland and Buchholz, PCA’s alleged injury “is not traceable to

anyone but” itself, again with the result that it “cannot establish standing.” Garland, 999 F.3d at

441 (quoting Buchholz, 946 F.3d at 867). While PCA asserts that it would have had to incur

additional expense to take the step it had identified, see, e.g., Int. Ans. Nos. 5, 16-17, that is

immaterial, since the foregone steps in both Garland and Buchholz also involved the expenditure

of money (i.e., payment of the outstanding debts). Id. The self-inflicted nature of PCA’s alleged

harm thus also deprives it of standing, for reasons of both no “injury in fact” and no traceability.

                                           CONCLUSION

        For the foregoing reasons, the Director respectfully requests that the Court allow

Defendant’s Motion to Dismiss for Lack of Article III Subject-Matter Jurisdiction.




17
         See also McConnell v. Fed. Elec. Comm’n, 540 U.S. 93, 228 (2003) (candidates
foreswearing large campaign contributions who then asserted that a statute raising contribution
limits impaired their ability to compete electorally (since others might take advantage of the
higher limits) “cannot show that their alleged injury is ‘fairly traceable’ to” the law, since “[t]heir
alleged inability to compete stems not from the operation of [the law], but from their own
personal ‘wish’ not to solicit or accept large contributions, i.e., their personal choice”), overruled
on other grounds by Citizens United v. Fed. Elec. Comm’n, 558 U.S. 93 (2010).


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                                             By his attorneys,

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Dated: June 29, 2022


                                CERTIFICATE OF SERVICE

I, Douglas S. Martland, hereby certify that the foregoing document, which was filed through the
ECF system, will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on June 29, 2022.


                                                      /s/ Douglas S. Martland
                                                      Douglas S. Martland, BBO # 662248




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